
95 N.Y.2d 778 (2000)
GREEN POINT SAVINGS BANK, Respondent,
v.
JOSEPH J. ST. HILAIRE et al., Defendants.
SAMUEL F. ISIDORE, Nonparty-Appellant.
Court of Appeals of the State of New York.
Submitted March 27, 2000.
Decided May 9, 2000.
Motion, insofar as it seeks leave to appeal from the Appellate Division order which affirmed the denial of appellant's motion to vacate the judgment of foreclosure and sale, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining orders sought to be appealed from do not finally determine the action within the meaning of the Constitution.
